Case 1:05-cv-01235-.]DT-STA Document 3 Filed 08/30/05 Page 1 of 2 pfagelD 9
¢ g '»

.O 1
05%-:!' z
United States DistrictCourt"<‘/">/z / 0’°"/9 0

 

WESTERN DISTRICT OF TENNESSEE //:~;5,/;, viz/0 /‘9
Eastern Division c/TO@UW
IN RE:
TRACY H. ADAMS and
STACY K. ADAMS,
chtors,
TRACY H. ADAMS and
STACY K. ADAMS,
Appellants, JUDGMENT lN A ClVlL CASE
JASON G. WHITWORTH,
Appellce. CASE NUMBER: 05-1235-TfAn

Decision by Court. This action came to consideration before the Court. The issues have
been considered and a decision has been renderedl

|T iS ORDERED AND ADJUDGED that in compliance with the order entered in the
above-styled matter on 08/29/05, Appellants' motion for an interlocutory appeal from the

Bankruptcy Court's denial of their objection to the removal of a malpractice action from state
court to the Bankruptcy Court is DEN|ED and this case is hereby DlSl\/llSSED.

APPROVED:

%MAS¢»/»¢<

UM)£S D TODD
TED STATES DISTRICT JUDGE

THOMA`S M.'-_GQUL'D
CLERK

®/BOL/GS BY: CBM@Q"

DATE ‘ DEPUTY CLERK

This document entered on the docket sheet in compliance

Wiin Ruie 58 and/or rs(a) FRcP on th ~Ol ‘ 05 .

   

UNIED` sATTEs ITRICT OURT - WETRNDISTCRIT OF 'NN'ESSEE

Notice of Distribution

This notice confirms a copy of the document docketed a.s number 3 in
ease 1:05-CV-01235 Was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

 

 

W. Scott Rose

BAYDOUN & KNIGHT, PLLC
424 Chureh St.

Nashville, TN 372 l 9

David M. Cook

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

Memphis7 TN 38103

E. Franklin Childress

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

Memphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

